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  The relief described hereinbelow is SO ORDERED.

  Signed June 05, 2020.


                                                      __________________________________
                                                                   Ronald B. King
                                                        Chief United States Bankruptcy Judge




                     IN THE UNITED STATES BANKRUPTCY COURT
                        FOR THE WESTERN DISTRICT OF TEXAS
                               SAN ANTONIO DIVISION

   In re:                                      §           Chapter 11
                                               §
                                                           Case No. 20-50805-RBK
   KrisJenn Ranch, LLC, KrisJenn               §
   Ranch, LLC, Series Uvalde Ranch *,          §
                                                           Case No. 20-51083-RBK *
   KrisJenn Ranch, LLC, Series Pipeline        §
   Row **                                      §
          Debtors                              §           Case No. 20-51084-RBK **


                 ORDER GRANTING CREDITORS DMA PROPERTIES, INC.’S
                         AND LONGBRANCH ENERGY, LP’S
                       AMENDED MOTION TO SEVER / DKT # 22

            On May 21, 2020 came on for consideration the Amended Motion to Sever or Dismiss [Dkt

  # 22] filed by DMA Properties, Inc. and Longbranch Energy, LP (collectively “Movant” and/or

  “DMA / Longbranch”), and any responses filed by the Debtors KrisJenn Ranch, LLC, KrisJenn

  Ranch, LLC – Series Uvalde Ranch and KrisJenn Ranch, LLC – Series Pipeline ROW, and

  following a hearing regarding the Motion conducted on May 21, 2020, and having duly considered

  the parties’ pleadings, the evidence, including the exhibits admitted into evidence and the




                                             Page 1 of 3
20-50805-rbk
 20-51084-rbk Doc#47
              Doc#1 Filed
                     Filed06/08/20
                          06/05/20 Entered
                                   Entered06/08/20
                                           06/05/2009:54:58
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  testimony of the Debtors’ principal Mr. Larry Wright, and the applicable law, the Court is of the

  opinion and hereby finds that the Motion should be granted in pertinent part as set forth below.

         IT IS THEREFORE ORDERED by the Court that the Motion to Sever or Dismiss is

  GRANTED in pertinent part as follows:

         1.      The Court finds that each of the Debtors in this chapter 11 proceeding is treated

  under applicable Texas law and under the Bankruptcy Code as a separate person and therefore

  should each file separate bankruptcy cases.

         2.      The Court finds that each of the Debtors are “persons” for the purposes of 11 U.S.C.

  § 101(41), and as such the chapter 11 cases of the Debtors KrisJenn Ranch, LLC – Series Uvalde

  Ranch and KrisJenn Ranch, LLC – Series Pipeline ROW shall be and they are hereby SEVERED

  from this case involving the Debtor KrisJenn Ranch, LLC.

         3.      Debtors’ counsel shall promptly, but not later than fourteen (14) days following the

  date of the signing and entry of this Order, file amended voluntary chapter 11 petitions in

  bankruptcy separately for the Debtor KrisJenn Ranch, LLC – Series Uvalde Ranch and KrisJenn

  Ranch, LLC – Series Pipeline ROW, and not later than thirty (30) days following the date of the

  signing and entry of this Order shall pay to the United States Bankruptcy Clerk the applicable

  filing fees for such severed cases. Should the Debtors fail to file such amended voluntary chapter

  11 petitions together with applicable schedules and filing fees, then the bankruptcy shall be

  dismissed as to each Debtor or Debtors failing to do so.

         4.      The chapter 11 cases of KrisJenn Ranch, LLC, KrisJenn Ranch, LLC – Series

  Uvalde Ranch, and KrisJenn Ranch, LLC–Series Pipeline ROW shall be separately docketed but,

  in accordance with the Court’s separate Sua Sponte Order for Joint Administration in this




                                             Page 2 of 3
20-50805-rbk
 20-51084-rbk Doc#47
              Doc#1 Filed
                     Filed06/08/20
                          06/05/20 Entered
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  proceeding, shall be jointly administered in accordance with the terms of the Sua Sponte Order for

  Joint Administration.

          5.     All proofs of claim shall be filed under the case number representing the Debtor’s

  estate against which the claim is made, and there shall be separate proofs of claim registers in each

  case.

          6.     Each of the Debtors shall file a separate plan of reorganization in their respective

  chapter 11 cases unless the Court orders otherwise.

          7.     Nothing in this order shall be construed as findings or a ruling as to whether

  substantive consolidation is appropriate in this case and no party waives its rights to seek

  substantive consolidation in the future.

                                                 ###

  Order Prepared by:

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                                              Page 3 of 3
